Case 8:21-cr-00348-SCB-SPF Document 70 Filed 12/17/21 Page 1 of 3 PagelD 431

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION

UNITED STATES OF AMERICA,

Vv.

Plaintiff,

O

Government

JEREMY BROWN

Defendant

Case No. 8:21-cr-348-SCB-SPF

CL] Evidentiary

Other

EXHIBIT LIST

 

Exhibit
Number

Date
Identified

Date
Admitted

Witness

Description of Exhibit

 

9A

( 2 [hy/m

1214/2

Recording: 12/10/21 jail call
between Jeremy Brown and
Alondra Propes

 

9A-T

Transcript: 12/10/21 jail call
between Jeremy Brown and
Alondra Propes

 

9B

Recording: 12/8/21 jail call
between Jeremy Brown and Tylene
Aldridge

 

9B-T

 

 

Transcript: 12/8/21 jail call
between Jeremy Brown and Tylene
Aldridge

 

9C

 

Recording: 12/8/21 jail call
between Jeremy Brown and Scott
Olson

 

9C-T

Transcript: 12/8/21 jail call
between Jeremy Brown and Scott
Olson

 

 

9D

 

 

 

 

 

 

Recording: 10/27/21 jail call
between Jeremy Brown and Erin
Olzewski

 

 
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EXHIBIT LIST - Continuation Sheet

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Exhibit

Date

Date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number | Identified Admitted Witness Description of Exhibit
9D-T Transcript: 10/27/21 jail call
rrfialar | categ fay between Jeremy Brown and Erin
Olzewski
9E Recording: 11/11/21 jail call
| between Jeremy Brown and Cathi
‘ Chamberlain
9E-T Transcript: 11/11/21 jail call
between Jeremy Brown and Cathi
Chamberlain
OF | Recording: 10/24/21 jail call
between Jeremy Brown and Kristie
Tertel
9F-T Transcript: 10/24/21 jail call
between Jeremy Brown and Kristie
Tertel
9G Recording: 11/3/21 jail call
between Jeremy Brown and Tylene
Aldridge
9G-T Transcript: 11/3/21 jail call
between Jeremy Brown and Tylene
Aldridge
9H-T Transcript: 11/14/21 jail call
between Jeremy Brown and Tylene
Aldridge
10 Redacted search warrant in 21-sw-
00315 (D.D.C.)
11 Photo: grenade
16 FBI Lab Report: Explosives Device
13 Photo: CD marked at SECRET
level
14 Copy of signed nondisclosure
agreement
IS Sealed motion for order to show
cause, 21-mj-2169-JSS
16 | Sealed order to show cause, 21-mj-
2169-JSS
17 Transcript: 10/5/2021 detention

hearing

 

 

18

 

 

 

 

 

Defendant’s motion for revocation

 

 
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EXHIBIT LIST - Continuation Sheet

Exhibit Date Date
Number | Identified Admitted

Witness Description of Exhibit

of detention order
1s

 
